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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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ANDREA TOLEDO,
Plaintiff,

- against -
Index No.:
UNIBUD RESTORATION CORP., : 21-cv-882 (GBD) (SN)
BREND RESTORATION LLC, :
BREND RESTORATION SERVICES INC.,
PAVARINI MCGOVERN, LLC, and CARLOS
URIBE, individually,
Defendants.

 

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DEFENDANTS’ REPLY TO PLAINTIFE’S COUNTERSTATEMENT OF FACTS

The Brend defendants, by their attorney, DANIEL S. PERLMAN, submit the following

in reply to plaintiff's counterstatement of undisputed facts:

26. At all times material to this motion, the Brend Defendants (BREND
RESTORATION LLC and BREND RESTORATION SERVICES, INC. collectively referred to
herein as “BREND” and/or “Defendants”) were Plaintiffs joint employer, and the former
Defendant, Unibud merely acted as a labor placement agency subcontractor and payroll
company, on behalf of the BREND Defendants. (Pl. Decl. {{] 7-51; GT Deel. 99 5-40: KZ Decl,
{{ 1-10; RZ Decl. 4§ 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. The Agreement between Brend Restoration LLC (not Brend Restoration
Services Inc.) (Exhibit B to Jaworski moving affidavit) clearly sets forth Unibud’s scope of work

which included transporting of materials from street to work areas, installation of panels,
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providing their own tools - except as excluded, keeping their own logs and other paperwork and
the provision of an English speaking foreman (who would presumably, and did, oversee Unibud

workers).

27. At all times material, Defendant CARLOS URIBE (“URIBE”) was a supervisor
jointly employed by Defendants, UNIBUD and BREND, and was one of Plaintiffs direct
supervisors. (Pl. Decl. {] 7-51; GT Decl. 1 5-40; KZ Decl. 9] 1-10; RZ Decl. { 1-10; and SPB
Decl. Ex. 1 and 2).

REPLY: Deny. Neither Zagroba nor Zawadski state that Uribe was jointly employed.
In fact they each state (at para. 5) that “the Brend project manager would supply the daily action

plan to a UNIBUD foreman at the worksite.” Not to a jointly employed foreman.

28. URIBE reported directly to BREND’s foreman Walter Rosso and URIBE issued
work orders to Plaintiff and her coworkers that came directly from BREND’s project manager,
Marek Sudol. (Pl. Decl. {J 7-51; GT Deel. {I 5-40; KZ Decl. §§ 1-10; RZ Decl. 4] 1-10; and
SPB Decl. Ex. 1 and 2)

REPLY: Deny. Rosso was not a Brend foreman. (Jaworski Reply para. 10).

Neither Zagroba nor Zawadski make any such assertion. Admit that Uribe issued work order to

plaintiff, etc.

29, Around early June 2019 Defendants assigned Plaintiff to work as a construction

laborer at a construction site located at 100 Vandam Street, New York, NY, Defendants
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BREND, and UNIBUD were the subcontractors. (Pl. Decl. 99 7-51; GT Decl. {| 5-40; KZ Decl.
T{ 1-10; RZ Decl. 4 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. More precisely, Brend Restoration LLC was a subcontractor to Betons
Prefabriques du Lac Inc. who contracted with the general contractor, Pavarini McGovern to
supply and install precast conerete panels. (Exhibit A to Jaworski moving affidavit). Unibud
was a sub-subcontractor of Brend Restoration, LLC. (Exhibit B to Jaworski moving affidavit).

Brend Restoration Services Inc. had no role at all in this project. (Jaworski Reply para. 5).

30. The only control Unibud had over Plaintiff's employment was assigning her to work
at the Vandam project and payroll, wherein she was paid in cash at the end of every week. (Pl.
Decl. {§ 7-51; GT Decl. {9 5-40; KZ Decl. {7 1-10; RZ Decl. {J 1-10; and SPB Decl. Ex. 1 and
2)

REPLY: Demy. The reason Unibud was required to provide a job foreman was to

supervise Unibud workers. (Exhibit B to Jaworski aff.) (Jaworski Reply at para. 12).

31. All other control over Plaintiff's work activities was directed, supervised, inspected,
monitored and reviewed by BREND. (Pl. Decl. {7 7-51; GT Deel. 4¥ 5-40; KZ Decl. 9 1-10; RZ
Decl. {| 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. Jaworski Reply at para. 12).

32. BREND’s project manager, Marek Sudol was present at the 100 Vandam worksite

every day, all day during work hours, and conducted inspections monitoring of our work and
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issued specific instructions that we were required to carry out. (Pl. Decl. {) 7-51; GT Decl. 99 5-
40; KZ Decl. ff] 1-10; RZ Decl. #§ 1-10: and SPB Deel. Ex. 1 and 2)

REPLY: Deny (Sudol at para. 5).

33. During BREND’s project manager Mr. Sudol’s monitoring and near constant
inspection of our work, he would make sure we had all the materials needed to complete our
work assignments, and if we did not have the materials needed to complete the tasks, he would
make sure that those materials were provided to us. (Pl. Decl. {| 7-51; GT Decl. 49 5-40; KZ
Decl. §{[ 1-10; RZ Decl. 4§ 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Betons Prefabriques provided materials such as panels to be installed by
Unibud plus associated hardware.. Unibud provided its own tools and machinery and safety

equipment. (See Exhibit S to Unibud subcontract). (Jaworski reply at para. 20).

34. Several times per day, every day while Plaintiff worked at the Vandam work site,
Defendant URIBE relayed work orders to Plaintiff and her coworkers directly from BREND,
usually via Mr. Rosso and/or Mr. Sudol. (PI. Decl. 4] 7-51; GT Decl. 94 5-40; KZ Decl. {4 1-10;
RZ Decl. ff 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Admit except that we did not issue work orders to Unibud via Rosso.

(Jaworski reply at para. 10.).

35. On at least one occasion, BREND’s project manager, Mr. Sudol issued work
instructions directly to Plaintiff. (Pl. Decl. {1 7-51; GT Decl. 9] 5-40; KZ Decl. { 1-10; RZ

Decl. {{[ 1-10; and SPB Decl. Ex. 1 and 2)
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REPLY: Deny.(Sudol at para. 13).

36. On at least one occasion Plaintiff witnessed that, BREND’s project manager, Mr.
Sudol issued work instructions directly to one of Plaintiff's coworkers who was also assigned to
the 100 Vandam project by Unibud. (Pl. Decl. | 7-51; GT Decl. §§ 5-40; KZ Decl. {| 1-10; RZ
Decl. 4 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. (Sudol at paras. 7, 12).

37. Every day Plaintiff showed up at the Vandam work site, I signed into work on a daily
workers’ log sheet that read: “I [foreman, Walter Rosso’s handwritten name], Foreman for
BREND, atfirm that the above list of employees is an accurate list of ail our employees on this
project today, and that all our employees have been through the [safety] orientation and meet all
the DOB requirements to be present on this project. (Sub-Contractors are responsible for
accounting for all their employees as well as all employees of their lower tiered subs.)”
(emphasis added) (PI. Decl. §§ 7-51; GT Decl. {7 5-40; KZ Decl. 9] 1-10; RZ Decl. 49 1-10; and
SPB Decl. Ex. 1 and 2)

REPLY: Admit and note the quoted language makes clear that Pavarini, the general

contractor, required that we be responsible and account for employees of our subs.

38. BREND’s foreman, Walter Rosso, every day in writing, via the sign-in sheet
acknowledged that Plaintiff and her coworkers were “employees” of BREND. (PI. Decl. [9 7-51;
GT Decl. 49] 5-40; KZ Decl. 9 1-10; RZ Decl. {] 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny that Rosso was a Brend foreman. (Jaworski reply aff. at para. 10).
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39. All of the direct employees of BREND and all of the subcontractors assigned by
Unibud, like Plaintiff, signed the same daily worker’s log, that identified all of them and
BREND “employees”. There was no separate sign-in sheet or any distinction whatsoever
between direct employees of BREND and the workers assigned to BREND by Unibud. (PI. Decl.
{4 7-51; GT Decl. 99 5-40; KZ Decl. {if 1-10; RZ Decl. 7§ 1-10; and SPB Decl. Ex. | and 2)

REPLY: Deny. Inasmuch as Brend had no employees on site other than Sudol.

(Jaworski reply aff. at para 13).

40. All of Plaintiff's coworkers assigned to the 100 Vandam project by Unibud,
including Plaintiff, were required to obtain permission from BREND to access any and all of the
project’s various locations within the building. (Pl. Decl. #§ 7-51: GT Decl. 1] 5-40; KZ Decl. 79
1-10; RZ Decl. ff 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. Plaintiff and her coworkers had their own foreman and supervisor.

41. BREND personnel were the only ones who could grant us access to various work.
locations at the 100 Vandam worksite. (Pl. Decl. 99 7-51; GT Decl. { 5-40; KZ Decl. 4 1-10:

RZ Decl. §§ 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. Brend had no personnel on site other than Sudol. (Jaworski reply at 10).

42. BREND’s project manager, Marek Sudol and foreman, Walter Rosso, had the power
to take any disciplinary action they saw fit, up to and including termination, against me or any of

Plaintiff's coworkers, and Mr. Sudol and Mr. Rosso would instruct URIBE to carry out whatever
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disciplinary actions the BREND supervisors deemed necessary. (Pl. Decl. Tf 7-51; GT Decl. 9
5-40; KZ Decl. ff 1-10; RZ Decl. {J 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. (Jaworski reply at 10, 17). (Sudol at 12).

43. Defendant URIBE did in fact carry out Mr. Sudol’s and Mr. Rosso’s decisions
regarding disciplinary actions toward workers. (PI. Decl. §] 7-51; GT Deel. 99 5-40: KZ Decl. 4
1-10; RZ Decl. §§ 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. There is no competent evidence as to what Urbibe did or didn’t do with

regard to discipline of Unibud workers and Rosso was not a Brend employee. ( Jaworski reply at

17).

44. Defendant URIBE regularly communicated directly with Mr. Sudol and Mr. Rosso
regarding our work assignments. (Pl. Decl. 1 7-51; GT Decl. 49 5-40; KZ Decl. 4] 1-10; RZ
Decl. 4 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. There is no competent evidence as to what Urbie did or did not do.

45. BREND’s project manager, Marek Sudol and foreman, Walter Rosso, had the power
to make scheduling decisions for Plaintiff and her coworkers, including dictating which workers
would work which shifts. (Pl. Decl. {| 7-51: GT Decl. T{ 5-40; KZ Decl. 4§ 1-10; RZ Decl. #4] 1-
10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. (Rosso para. 13).
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46. Mr. Sudol’s and Mr. Rosso’s scheduling decisions were carried out through them
issuing scheduling decisions directly through URIBE. (PI. Decl. 1 7-51; GT Decl. 99 5-40; KZ
Decl. ff 1-10; RZ Decl. 4] 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. (Rosso para. 13).

47. Defendant URIBE was Plaintiffs direct boss and Mr. Rosso was URIBE’s direct
boss, and Mr. Sudol was Mr. Rosso’s direct boss. (Pl. Decl. {[ 7-51; GT Decl. 49] 5-40: KZ Decl.
{| 1-10; RZ Decl. 4 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. Rosso was no a Brend employee. Sudol was our project manager and

not Russo’s boss. (Rosso and Jaworski affs.)

48. Upon commencing the job at 100 Vandam, BREND required that Plaintiff and her
coworkers attend a safety orientation training conducted in the basement of 100 Vandam. (Pl.
Decl. {{§ 7-51; GT Decl. 49 5-40; KZ Decl. {| 1-10; RZ Decl. 7 1-10; and SPB Decl. Ex. 1 and
2)

REPLY: Admit. Required by Pavarini. (Jaworski reply at 19).

49. BREND’s project manager, Mr. Sudol was the person who conducted the safety
orientation and training. (Pl. Decl. 4] 7-51; GT Decl. ‘I 5-40; KZ Decl. 4] 1-10; RZ Decl. 9§ 1-
10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. Conducted by Rosso, Unibud’s employee. Jaworski Reply at 5).
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50. The training was conducted by BREND and was attended by both workers directly
employed by BREND and workers assigned to the 100 Vandam project by Unibud. (PI. Decl. 49
7-51; GT Decl. 9 5-40; KZ Decl. | 1-10; RZ Decl. 7¥ 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. Brend had no workers on site other than Sudol and he did not conduct

the site safety meetings or any training.. (Sudol at para. 14).

51. Every day Plaintiff worked at the 100 Vandam worksite, approximately 10-20 other
workers who were directly employed by BREND also worked alongside Plaintiff and the other
worked assigned to the project by Unibud to work for BREND at the worksite. (PI. Decl. 9 7-
51; GT Decl. J 5-40; KZ Decl. {| 1-10; RZ Decl. 4 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny: (Jaworski reply. at 16).

52. Ona daily basis, these workers directly employed by BREND would work together
with Plaintiff and other workers assigned to the worksite by Unibud to complete various work-
related tasks, and vice versa. (PI. Decl. {| 7-51; GT Decl. 9 5-40; KZ Decl. {7 1-10; RZ Decl.
[| 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. ( Jaworski reply at 16).

53. The workers who were assigned to the site by Unibud, worked side-by-side with the
workers directly employed directly by BREND on a daily basis to help them complete the tasks
they were working on. (Pl. Decl. {| 7-51; GT Decl. §§] 5-40; KZ Decl. fT 1-10; RZ Decl. ¥§ 1-
10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny (Jaworski reply at 16).
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54. Both BREND’s direct employees and Plaintiff and her coworkers assigned by
Unibud, were all required by BREND to wear the hardhats bearing BREND’s logo, to wear work
vests bearing BREND’s logo, and to carry on our person at all times our identification and safety
credentials all identifying us as BREND’s workers, and we were all required to say we worked
for BREND if anyone asked. (Pl. Decl. {{ 7-51; GT Decl. 4 5-40; KZ Decl. {| 1-10; RZ Decl.
{| 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny the part about Brend direct employees.

55. BREND supplied us with these hardhats and work vests, as well as all the work
materials needed to complete our tasks. (PI. Decl. {f] 7-51; GT Decl. 4 5-40; KZ Decl. qj 1-10;
RZ Decl. 4 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny that we provided all work materials to Unibud. See Exhibit § to

subcontract (Ex.B to Jaworski aff. and Jaworski reply at 20).

56. There was no functional or meaningful difference between workers like Plaintiff, her
fellow Unibud subcontractors and their coworkers directly employed by BREND, as they all
regularly worked on the same work tasks interchangeably. (Pl. Decl. {] 7-51; GT Decl. 4] 5-40;
KZ Decl. 4 1-10; RZ Decl. 4§ 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. (Jaworski reply at 16).

57. BREND’s direct employees and the subcontractors assigned by Unibud all attended a
work party together on the roof of 100 Vandam. (Pl. Decl. ff 7-51; GT Decl. 49 5-40; KZ Decl.

{{ 1-10; RZ Decl. 9 1-10; and SPB Decl. Ex. 1 and 2)
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REPLY: Deny. (Jaworski reply at 22).

58. At all times material, Defendant BREND derived an economic benefit from the daily
labor Plaintiff engaged in for them at 100 Vandam. (PI. Decl. {| 7-51; GT Decl. 99 5-40; KZ
Decl. {f] 1-10; RZ Decl. §§ 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. Jaworski reply at 23),

59. At all times material, Defendant BREND, their project manager, Mr. Sudol and their
foreman, Walter Rosso controlled all Plaintiff's daily work activities and those of all of
Plaintiff's coworkers and supervisors, including the right to fire, reassign and/or reduce
Plaintiff's work hours and those of all Plaintiff's coworkers. (PL. Decl. §§] 7-51; GT Decl. 9 5-
40; KZ Decl. §] 1-10; RZ Decl. J 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. (Jaworski reply).

60. BREND’s project manager, Mr. Sudol made sure Plaintiff and her coworkers had all
of the materials needed to complete their work assignments, by checking with them and
monitoring them throughout each workday. (Pl. Decl. §§ 7-51; GT Decl. {11 5-40; KZ Decl. 4 1-
10; RZ Decl. § 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. (Jaworski reply at 13and 20).

61. Mr. Sudol’s control of Plaintiff's day-to-day work activities was carried out through
orders he issued to Mr. Rosso and Defendant URIBE. (PI. Decl. 7-51; GT Decl. 99 5-40; KZ

Decl. {J 1-10; RZ Decl. §§ 1-10; and SPB Decl. Ex. 1 and 2)
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REPLY: Deny that this amounted to Sudol controlling plaintiff's day to day activities,

Note that plaintiff here couples Rosso and Uribe as persons who Sudol issued instructions to.

62. Unibud and the other higher-tired contractors above BREND never directed
Plaintiff's daily work activities, she only performed assigned work that was ordered, overseen
and inspected by BREND, usually through Mr. Rosso and Mr. Sudol. (Pl. Decl. 99 7-51; GT
Decl. 49] 5-40; KZ Decl. 4 1-10; RZ Decl. {J 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. Brend did not assign work to plaintiff or inspect plaintiff's work per se.

Sudol inspected Unibud work. Sudol at paras. 6 and 7.

63. Plaintiff's coworkers and I were instructed that BREND was our employer, and if
anyone at the worksite asked who they worked for, the supervisors, including Mr. Sudol, Mr.
Rosso and URIBE, told them they were required to tell anyone who asked, that they worked for
BREND. (PI. Decl. 9 7-51: GT Decl. {] 5-40; KZ Decl. 99 1-10; RZ Decl. {| 1-10; and SPB
Decl. Ex. 1 and 2)

REPLY: Deny that plaintiff and her coworkers were instructed by anyone that Brend

was their employer. Jaworski aff.

64. Plaintiffs hardhat and work vest were issued to her by BREND and had BREND’s
corporate logo displayed prominently on them. (Pl. Decl. {1 7-51; GT Decl. 49 5-40; KZ Decl,
{] 1-10; RZ Decl. 49 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Admit.
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65. Plaintiff was required to always wear the BREND hardhat and work vest while she
was working on tasks at the Vandam project. (Pl. Decl. 9] 7-51; GT Decl. 99 5-40; KZ Decl. 4
1-10; RZ Decl. 4 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Admit.

66. Defendants BREND nor anyone else ever issued Plaintiff wage statements for the
work she performed at 100 Vandam. (PI. Decl. 4 7-51; GT Decl. 9 5-40; KZ Decl. {J 1-10; RZ
Decl. 9 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Neither admit nor deny that plaintiff was issued wage statements by Unibud.

Brend had nothing to do with paying Unibud workers. Jaworski moving aff at para. 17.

67. Defendant BREND’s business model depends upon its daily construction laborers
and so depended on Plaintiff's and other similarly situated employees’ work. Pl. Decl. 4; GT
Decl. 4

REPLY: Brend business model, if any, depended upon subcontractors performing their

scope of work... Jaworski moving aff at para. 5.

68. Defendant BREND set and enforced requirements related to specific procedures that
employees, including Plaintiff, must adhere to and qualifications that employees, including
Plaintiff, must meet. (Pl. Decl. 4§ 7-51; GT Decl. {| 5-40; KZ Decl. 99 1-10; RZ Decl. q 1-10;
and SPB Decl. Ex. 1 and 2)

REPLY: Deny. Neither Zagroba nor Zawadski make any such assertion. And see

Jaworski reply aff. At 25.
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69. Defendant BREND issued Plaintiff an identification badge bearing Defendant
BREND’s name and corporate logo, that displayed Plaintiff's name, photo and other licensing
information, which Defendant BREND, required Plaintiff to carry on her person at all times
while she was at the Vandam worksite. (Pl. Decl. I] 7-51; GT Decl. 9 5-40; KZ Decl. {{] 1-10;
RZ Decl. fff 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Admit.

70. BREND held themselves out as Plaintiff's employer while she worked at the
Vandam worksite, and all of her supervisors told her that she worked for BREND, and that
Plaintiff's supervisor, Defendant URIBE and all of the other workers who were assigned to that
project location by Unibud, were told that they all worked for BREND. (PI. Decl. 7-51; GT
Decl. {J 5-40; KZ Decl. 4 1-10; RZ Decl. ‘] 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. Neither Zagroba nor Zawadski make any such assertion.

71. Now that Plaintiff is suing BREND for allowing Defendant URIBE, her former boss,
to sexually harass her while she worked for them, and for failing in their legal obligation to
provide a workplace free of discrimination and sexual harassment, BREND now claims that
Plaintiff was never an “employee”. (PI. Decl. {7 7-51; GT Decl. 9] 5-40; KZ Decl. 4§ 1-10; RZ
Decl. {| 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. See Jaworski affs.

72. On a daily basis, and often multiple times per day, BREND typically through their

foreman, Mr. Rosso, issued the “action plan”, work commands, tasks and/or assignments directly
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to Defendant URIBE via phone, text message and/or email, who then relayed those work
commands, tasks and assignments to me and other laborers at the Vandam Project. (Pl. Decl. F¥
7-51; GT Decl. 7§ 5-40; KZ Decl. {| 1-10; RZ Deel. f§ 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny. Rosso was a Unibud employee. Jaworski reply at 5

73. Ona daily basis, and often multiple times per day, Defendant URIBE would update
his supervisors at BREND, Mr. Sudol and Mr. Rosso, on the status of the daily “action plan”,
work commands, tasks and/or assignments, via phone, text message and often in person, when
supervisors from BREND came to oversee and inspect the work we did. (Pl. Decl. {§ 7-51; GT
Decl. fj 5-40; KZ Decl. §§ 1-10; RZ Decl. {] 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny: Neither Zagroba nor Zawadski make any such claim. Rosso was a

Unibud employee. Jaworski reply at 5.

74. Around June 22, 2019, Defendant URIBE sent me a text message asking, “CAN I
ASK YOU SOMETHING WITHOUT YOU TELLING ANYBODY?” (Pl. Decl. §§ 7-51; GT
Decl. {{] 5-40; KZ Decl. § 1-10; RZ Decl. “] 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny knowledge or information.

75. I responded, “Of course, tell me.” URIBE then asked me, “WHAT COLOR ARE
THOSE PANTIES?” (PI. Decl. § 7-51; SPB Decl. Ex. 2)

REPLY: Deny knowledge or information.
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76. Shocked and insulted | complained to URIBE, “The relationship between you and I

is clearly work. I think that these kinds of questions are too much.” (PI. Decl. 4] 7-51; and SPB

Decl. 2)

REPLY: Deny knowledge or information.

77. Around September 4, 2019, I sent a text message to UNIBUD’s owner ZAWADSKI,
who assigned me to work for BREND, complaining about the vulgar and inappropriate text
messaged that she and other female co-workers have been receiving from Defendant URIBE.
(Pl. Decl. §{] 7-51; and SPB Decl. 2)

REPLY: Deny knowledge or information and deny that Zawadski assigned plaintiff to

work for Brend. See Jaworski moving aff. at 5.

78. Up through around September 2019, I continued to receive harassing text messages
and phone calls from URIBE at inappropriate hours of the night and early morning between

10:30 PM and 4:30 AM. (PL. Decl. §§[ 7-51; and SPB Decl. 2)

REPLY: Deny knowledge or information See Jaworski reply at para. 27.

79. Defendants failed to take any corrective or remedial action to address the persistent
and ongoing pattern of sexual harassment that I brought to their attention. (P1. Decl. {| 7-51; GT
Decl. ff 5-40; KZ Decl. Jf 1-10; RZ Decl. { 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Deny this unsupported allegation.. This is the first time anyone has alleged that
Brend was made aware of Uribe’s alleged actions. Admit that Brend took no steps to address

Uribe’s behavior of which it has no knowledge.. Jaworski reply at para. 27.
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80. While they provided Plaintiff with general workplace safety information, Defendant
BREND never provided any information on who she should complain to if a supervisor was
sexually harassing her. (Pl. Decl. 1] 7-51; GT Decl. 49 5-40; KZ Decl. fj 1-10; RZ Decl. 7 1-

10; and SPB Decl. Ex. 1 and 2)

REPLY: Admit but note that Sudol was present at the job site on a daily basis. Sudol at

para. 9 and 17.

81. BREND did not promulgate any workplace policy of any kind regarding
discrimination or sexual harassment. (PL. Decl. J 7-51; GT Decl. 49] 5-40; KZ Decl. q{ 1-10; RZ
Decl. 4 1-10; and SPB Decl. Ex. 1 and 2)

REPLY: Admit.

82. Plaintiff was terrified that when Defendant URIBE found out she complained about
his sexual harassment, she would lose her job, or worse, he would attack her at work or outside
of work. (Pl. Decl. §§ 7-51)

REPLY: Neither admit nor deny how plaintiff felt.

83. Because Defendant BREND never provided Plaintiff and her coworkers with
information on their policies against workplace discrimination or sexual harassment, she had no
idea what to do, and she felt she had no other option than to leave that job, so that she would no

longer be subjected to my supervisor’s unwanted and degrading sexual comments. (Pl. Decl. 4

7-51)
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REPLY: Deny. Plaintiff complained to Unibud owners and could Just as easily have

complained to Sudol . Sudo. at 17.

84. Plaintiff had no other job at the time she worked for Defendant BREND through her
placement in that job by Unibud. (PI. Decl. 9 7-51)

REPLY: Deny this self-serving conclusory assertion. Jaworski affs.

85. Plaintiff worked exclusively at the Vandam project for BREND through their
subcontractor, Unibud and was paid in cash by Unibud. (Pl. Decl. §§ 7-51)

REPLY: Deny that plaintiff worked for Brend. Jaworski affs

86. Plaintiff's symptoms include, sleep disturbance, helplessness, isolation, trouble
sleeping at night, functional decline, nervousness, decreased energy, poor motivation,
hopelessness, worthlessness, and numerous other physiological manifestations of emotional
distress. (P1. Decl. 49 7-51)

REPLY: Deny knowledge or information re plaintiff's self-serving statements of her

symptoms.

87. As a result of Defendant BREND’s actions and failures to act, Plaintiff feels
extremely humiliated, degraded, victimized, embarrassed and emotionally distressed. (Pl. Decl.
Tl 7-51)

REPLY: Deny knowledge or information re plaintiff's self-serving statements of her

symptoms or that any of her symptoms are due to Brend actions or failures to act.
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88. Asa result of the acts, omissions and conduct taken by Defendant BREND, I have
suffered and will continue to suffer the loss of income, the loss of a salary, commissions,
bonuses, benefits and other compensation which such employment entails. I have also suffered
future pecuniary losses, emotional pain, suffering, inconvenience, loss of enjoyment of life, and
other non-pecuniary losses. (PI. Decl. §§| 7-51)

REPLY: Deny plaintiff's self-serving assertions.

89. BREND had a duty to make sure I was provided a workplace where I would be free
of discrimination and sexual harassment from Defendant URIBE. (PI. Decl. 9 7-51)
REPLY: Deny plaintiff’s self-serving assertions and beg leave to refer all questions of

law to the Court upon the trial of this action.

90. BREND failed at that duty. (PI. Decl. {9 7-51)
REPILY: Deny plaintiffs assertion and beg leave to refer all questions of law to the

Court upon the trial of this action.

91. BREND had the legal responsibility to have policies in place to make sure that if
Plaintiff was being subjected to workplace sexual harassment by one of her supervisors, she
could report it and it would be remedied. (Pl. Decl. {9 7-51)

REPLY: Deny plaintiff’s assertion and beg leave to refer all questions of law to the

Court upon the trial of this action.

92. BREND failed at that responsibility. (PI. Decl. 9] 7-51)
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REPLY: Deny plantiff’s assertion and beg leave to refer all questions of law to the Court

upon the trial of this action.

93. BREND willfully ignored the workplace sexual harassment that Plaintiff was
subjected to by her supervisor and provided no reasonable means for her to report it, nor a

reasonable policy to prevent it. (Pl. Decl. 9 7-51)

REPLY: Deny. Brend was unaware of Uribe’s alleged acts which are asserted to have

occurred away from the work place. Jaworski and Sudol affs.

Dated: Scarsdale, New York
February 10, 2023

  

 

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